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                                                                           FILED
                     UNITED STATES COURT OF APPEALS                          SEP 7 2017

                                                                        MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




 VIRGINIA DUNCAN; et al.,                        No. 17-56081

              Plaintiffs-Appellees,              D.C. No.
                                                 3:17-cv-01017-BEN-JLB
  v.                                             Southern District of California,
                                                 San Diego
 XAVIER BECERRA, in his official
 capacity as Attorney General of the State
 of California,                                  ORDER

              Defendant-Appellant.


Before: Peter L. Shaw, Appellate Commissioner


       Appellant’s unopposed motion (Docket Entry No. 8) for a second extension
of time to file the opening brief is granted. The opening brief is due October 12,
2017. The answering brief is due November 13, 2017. The optional reply brief is
due within 21 days after service of the answering brief.




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